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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

   CYTIVA SWEDEN AB, and GLOBAL )
   LIFE SCIENCES SOLUTIONS USA  )
   LLC,                         )
                                ) C.A. No. 18-1899-CFC-SRF
             Plaintiffs,        ) Consolidated
                                )
        v.                      ) DEMAND FOR JURY TRIAL
                                )
   BIO-RAD LABORATORIES, INC.,  )
                                )
             Defendant.         )

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATION

        The undersigned counsel certifies that the filings comply with the type, font,

  and word limitations set forth in the Court’s November 6, 2019 Standing Order and

  the April 9, 2020 Oral Order. According to the word processing system used to

  prepare them, the briefs filed in support of Defendant Bio-Rad Laboratories, Inc.’s

  motions for summary judgment and Daubert motions contain a total of 11,576

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  documents, including footnotes, was prepared in Times New Roman, 14 point.
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